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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL VETERANS LEGAL
 SERVICES PROGRAM, NATIONAL
 CONSUMER LAW CENTER, and
 ALLIANCE FOR JUSTICE, for themselves
 and all others similarly situated,
                         Plaintiffs,                    Case No. 1:16-cv-00745-PLF

         v.

 UNITED STATES OF AMERICA,
                 Defendant.

                                   JOINT STATUS REPORT

       Pursuant to the Court’s order dated June 30, 2022, the parties file this joint status report to

update the Court on the progress of their settlement discussions.

       In the April 1, 2022 status report, the parties reported that counsel for the parties had

finalized a draft settlement document, and that counsel for Defendant had begun the process of

obtaining formal approval of the proposed settlement from the Department of Justice. In the last

status report, Defendant reported that, on June 29, 2022, undersigned counsel for Defendant had

received notice that the parties’ proposed settlement had been approved by the Associate Attorney

General, which was the final stage of that review process.

       The parties now report that, as of July 27, 2022, a settlement agreement has been fully

executed by the parties. Pursuant to the terms of that agreement, Plaintiffs state that they will file

on or before September 26, 2022, a motion for an Order Approving Settlement Notice to the Class

under Federal Rule of Civil Procedure 23(e)(1), and any necessary supporting papers, including a

copy of the settlement agreement. Should the Court grant the motion, it can then establish a




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schedule for the balance of the case, including the setting of a hearing to consider approval of the

settlement under Federal Rule of Civil Procedure 23(e)(2).

       Accordingly, the parties respectfully propose that the stay of proceedings be extended until

the filing by Plaintiffs of the above-referenced motion.

Dated: August 12, 2022
                                                      Respectfully submitted,

 MATTHEW M. GRAVES                                    ______William H. Narwold____________
 D.C. BAR # 481052                                    William H. Narwold
 United States Attorney                               MOTLEY RICE LLC
                                                      One Corporate Center
 BRIAN P. HUDAK                                       20 Church Street, 17th Floor
 Chief, Civil Division                                Hartford, CT 06103
                                                      860-882-1681
 By: ____/s/_________                                 bnarwold@motleyrice.com
 JEREMY S. SIMON
 D.C. BAR #447956                                     Meghan S. B. Oliver
 ROBERT A. CAPLEN                                     MOTLEY RICE LLC
 D.C. Bar #501480                                     28 Bridgeside Blvd.
 Assistant United States Attorney                     Mt. Pleasant, SC 29464
 601 D. Street, N.W.                                  843-216-9492
 Washington, D.C. 20530                               moliver@motleyrice.com
 (202) 252-2528
 Jeremy.Simon@usdoj.gov                               Elizabeth Smith
 (202) 252-2523                                       MOTLEY RICE LLC
 robert.caplen@usdoj.gov                              401 9th St. NW, Suite 1001
                                                      Washington, DC 20004
                                                      202-232-5504
                                                      esmith@motleyrice.com
 Counsel for the United States
                                                      Deepak Gupta
                                                      Jonathan E. Taylor
                                                      GUPTA WESSLER PLLC
                                                      2001 K Street, NW, Suite 850 N
                                                      Washington, DC 20006
                                                      (202) 888-1741
                                                      deepak@guptawessler.com
                                                      jon@guptawessler.com

                                                      Counsel for Plaintiffs National Veterans
                                                      Legal Services Program, National Consumer


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                                  Law Center, Alliance for Justice, and the
                                  Class




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